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                        IN THE UNITED STATES DISTRICT COURT

                    FOR THE NORTHERN DISTRICT OF CALIFORNIA




STORUS CORPORATION,

                      Plaintiff(s),                             NO. C- 06-2454 MMC

       vs.
                                                                PRETRIAL PREPARATION
                                                                ORDER
RESTORATION HARDWARE, et al.,

                      Defendant(s).

                                             /

        It is hereby ORDERED pursuant to Federal Rules of Civil Procedure and the Local Rules
of this Court:

JURY TRIAL DATE: Monday,              October 1, 2007     at 9:00 a.m., Courtroom 7, 19th floor.

TRIAL LENGTH is estimated to be          4 to 11   days.

DISCOVERY PLAN: Per Federal Rules of Civil Procedure and Local Rules, subject to any
     provisions below.

NON-EXPERT DISCOVERY CUTOFF : April 20, 2007 .

DESIGNATION OF EXPERTS:

       Plaintiff/Defendant: No later than       May 11, 2007 .
       Plaintiff/Defendant: Rebuttal no later than May 25, 2007 .

       Parties shall conform to Federal Rule of Civil Procedure 26(a)(2).


EXPERT DISCOVERY CUTOFF :                 June 15, 2007     .
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DISCOVERY MATTERS are referred to a Magistrate Judge and are to be noticed for hearing
before the assigned Magistrate Judge.

DISPOSITIVE MOTIONS shall be filed no later than          June 29, 2007       .

SETTLEMENT CONFERENCE shall be held before Magistrate Judge ___________ and
     scheduled to take place no later than 30 days prior to the Pretrial Conference.

PRETRIAL CONFERENCE DATE: September 18, 2007 at 3:00 p.m.

       COUNSEL WHO INTEND TO TRY THE CASE MUST ATTEND THE
       PRETRIAL CONFERENCE. Counsel shall be prepared to discuss all aspects
       of the case, including settlement. Pretrial shall conform to the attached
       instructions.

MEET AND CONFER (Civil L.R. 16-10(b)(5): Lead trial counsel shall meet and confer no later
than August 13, 2007.

FURTHER STATUS CONFERENCE: Friday, June 22, 2007 at 10:30 a.m.

FURTHER STATUS CONFERENCE STATEMENT DUE: Friday, June 15, 2007.

ADDITIONAL ORDERS: Case referred to ADR Department for Mediation by prior agreement.

       Claim Construction Hearing: March 5, 2007 at 9:00 a.m. (Six terms total)
       (Plaintiff: Two hours - Defendants: 1 ½ hours (each)

       Parties shall comply with the Court’s Patent Local Rules regarding Claim Construction.

       With respect to Defendant Restoration Hardware: Discovery is stayed pending mediation.




PLAINTIFF IS ORDERED TO SERVE A COPY OF THIS ORDER ON ANY PARTY
SUBSEQUENTLY JOINED IN THIS ACTION.


DATED: August 16, 2006                                 /s/ Maxine M. Chesney
                                                    MAXINE M. CHESNEY
                                                    United States District Judge




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                                 PRETRIAL INSTRUCTIONS

Counsel SHALL meet and confer in good faith in advance of complying with the following
pretrial requirements for the purpose of preparing for the Pretrial Conference and to discuss
settlement.

A.     TEN COURT DAYS PRIOR TO PRETRIAL CONFERENCE

        The following shall be accomplished not later than ten Court days prior to the scheduled
Pretrial Conference:

       1.      PRETRIAL STATEMENT: The parties shall file a joint pretrial statement
which shall set forth:

       (1) The substance of the action;

       (2) The relief claimed, including the particular elements of the damages claimed;

       (3) The factual issues remaining, as well as any stipulations of fact;

       (4) The legal issues, including a concise statement of each disputed point of law
concerning liability or relief and citing supporting statutory and case law;

       (5) A current estimate as to the length of the trial;

       (6) The status of the case with respect to alternative dispute resolution.

       2.      JURY INSTRUCTIONS:

        a.     Joint Set of Agreed Upon Instructions: The parties shall jointly prepare a set of
agreed upon jury instructions, which shall be filed ten Court days prior to the Pretrial
Conference. Whenever possible, counsel shall deliver to the Courtroom Deputy a copy of their
proposed jury instructions, in the same order as their joint submission, on a CD or 3-1/2" floppy
disk in WordPerfect format. The disk label shall include the name of the parties, the case
number and a description of the documents.

        b.      Separate Instructions: Separate instructions may be submitted only as to those
instructions upon which the parties cannot agree. Each separate instruction shall note on its face
the identity of the party submitting such instruction.




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        No later than ten Court days prior to the Pretrial Conference, the party or parties
objecting to an instruction shall file a written objection to such instruction. The form of the
objection shall be as follows:

       (1) Set forth in full the instruction to which the objection is made;

         (2) Provide concise argument and citations to authority explaining why the opposing
party's instruction is improper; and

       (3) Set forth in full an alternative instruction, if any.

        The separate instructions with objections shall be filed ten Court days prior to the
Pretrial Conference.

        c.       Substance and Format of Instructions: The instructions shall cover all substantive
issues. Proposed instructions shall be consecutively numbered. Each proposed instruction shall
be typed in full on a separate page and cover only one subject, to be indicated in the title.
Citations to the authorities upon which the instruction is based shall be included. Instructions
shall be brief, clear, written in plain English and free of argument. Pattern or form instructions
shall be revised to address the particular facts and issues of this case.

        d.      Preliminary Statement and Instructions: If the parties wish to have a preliminary
statement read to the jury, and/or preliminary instructions given to the jury, they shall jointly
prepare and submit to the Court, one week prior to trial, the text of the statement and
instructions, clearly marked.

        e.     Clean Copies: The parties shall be prepared to submit two clean copies of
instructions without citations, titles or attribution on or before the date trial commences.

        3.      FINDINGS OF FACT and CONCLUSIONS OF LAW: In non-jury cases,
each party shall serve and lodge with the Court proposed findings of fact and conclusions of law
on all material issues. Proposed findings shall be brief, written in plain English and free of
pejorative language and argument. Whenever possible, parties shall deliver to the Courtroom
Deputy copies of proposed findings of fact and conclusions of law on a CD or 3-1/2" floppy disk
in WordPerfect format. The disk label shall include the name of the parties, the case number and
a description of the documents.

       4.      EXHIBITS:

        a.     Provide Copies of Exhibits to Other Parties: Each party shall provide every other
party with one set of all proposed exhibits, charts, schedules, summaries, diagrams and other
similar documentary materials to be used in its case in chief at trial, together with a complete list
(see attached) of all such proposed exhibits. Voluminous exhibits shall be reduced by
elimination of irrelevant portions or through the use of summaries. Each item shall be pre-



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marked with an exhibit sticker (see attached), plaintiff's exhibits with numbers, defendant's
exhibits with letters or with numbers sequenced to begin after plaintiff's exhibit numbers. If
there are numerous exhibits, they should be provided in three-ring binders with marked tab
separators. All exhibits which have not been provided as required are subject to exclusion.

       b.       Stipulations re Admissibility: Prior to the Pretrial Conference, the parties shall
make a good faith effort to stipulate exhibits into evidence and be prepared to place their
admission on the record at the Pretrial Conference. If stipulation to admission in evidence is not
possible, the parties shall make every effort to stipulate to authenticity and foundation absent a
legitimate (not tactical) objection.

       c.      Provide Copies of Exhibits to Court: Three sets of exhibits shall be provided to
the Court on the first day of trial. Each set shall be in binders, tabbed and indexed.

        d.       Disposition of Exhibits After Trial: Upon the conclusion of the trial, each party
shall retain its exhibits through the appellate process. It is each party's responsibility to make
arrangements with the Clerk of the Court to file the record on appeal.

       5.      WITNESSES:

         a.     Jury Trials: The Pretrial Conference Statement shall include a list of witnesses
likely to be called at trial, other than solely for impeachment or rebuttal, together with a brief
statement following each name, describing the testimony to be given. Expert witnesses shall be
listed separately. Witnesses not included on the list may be excluded from testifying.


        b.      Non-Jury Trials: In non-jury cases, each party shall serve and lodge with the
Court a written narrative statement of the proposed direct testimony of each witness under that
party's control in lieu of a summary. Each statement shall be marked as an exhibit and shall be in
a form suitable to be received into evidence.


6.     MOTIONS IN LIMINE: Motions in limine are limited to motions to exclude specific
items of evidence (i.e. specific testimony or exhibits) on a ground and upon such authority as
would be sufficient to sustain an objection to such evidence at trial.

Motions in limine shall be filed and served no later than ten Court days prior to the date set for
the pretrial conference. Any party opposing such a motion in limine shall file and serve its
opposition papers no later than five Court days prior to the pretrial conference. No reply papers
will be considered.

B.     ONE COURT DAY PRIOR TO PRETRIAL CONFERENCE

       The following shall be accomplished not later than one Court day prior to the Pretrial



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Conference:

       1.        List of Exhibits With Stipulations and Objections - The parties shall file with the
Court a list of all exhibits admitted by stipulation; and a list of all exhibits as to which objections
have been made, with a brief notation indicating which party objects and for what reason.

         2.    Objections to Other Evidence - In addition to exhibit lists, counsel shall confer
with respect to any other evidentiary objections in advance of the Pretrial Conference as required
by Local Rule. Each party shall file and serve a statement briefly identifying each item objected
to, the grounds for the objection and the position of the offering party as stated at the conference.

        3.      Voir Dire and Verdict Forms - Each party shall serve and file proposed questions
for jury voir dire and a proposed form of verdict.

C.     OTHER PRETRIAL MATTERS

        1.       Citations - In all Pretrial Statements, memoranda of points and authorities and
jury instructions, citations shall be as follows: (1) all United States Supreme Court citations shall
be to both the official reporter and to the West Supreme Court Reporter, (2) all citations to
California state courts shall be to both the official reporter and to the West California Reporter,
and (3) all citations to the courts of any other state shall be to both the official reporter of that
state and to the West Regional Reporter.

        2.     Settlement Conferences - Any party utilizing another form of Alternative Dispute
Resolution who wishes to arrange a settlement conference before a judge or magistrate judge
thereafter may do so by contacting the Courtroom Deputy.

        3.     Copies - Unless otherwise indicated, each document filed or lodged with the
Court must be accompanied by a copy for use in the Judge's chambers. In addition, one copy of
the witness and exhibit lists should be furnished to the court reporter.

         4.    Daily Transcripts - If transcripts will be requested during or immediately after
trial, arrangements must be made with the court reporter at least one week before trial
commences.




Attachments




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                             UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF CALIFORNIA
CASE NO. C-           MMC                     DATE:

                                           vs

                                        EXHIBIT LIST

    (   ) Plaintiff                                 ( ) Defendant

  EXHIBIT                              Sponsoring
  NUMBER          Marked    Admitted   Witness                      DESCRIPTION
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Case No.                                     Case No.
PLNTF Exhibit No. ________________________   DEFT Exhibit No. _________________________
Date Entered    ________________________     Date Entered    _________________________
Signature      ________________________      Signature       _________________________


Case No.                                       Case No.
PLNTF Exhibit No. ________________________     DEFT Exhibit No. _________________________
Date Entered    ________________________       Date Entered   _________________________
Signature      ________________________        Signature      _________________________
Case No.                                       Case No.
PLNTF Exhibit No. ________________________     DEFT Exhibit No. _________________________
Date Entered    ________________________       Date Entered   _________________________
Signature      ________________________        Signature      _________________________
Case No.                                       Case No.
PLNTF Exhibit No. ________________________     DEFT Exhibit No. _________________________
Date Entered    ________________________       Date Entered   _________________________
Signature      ________________________        Signature      _________________________
Case No.                                       Case No.
PLNTF Exhibit No. ________________________     DEFT Exhibit No. _________________________
Date Entered    ________________________       Date Entered   _________________________
Signature      ________________________        Signature      _________________________
Case No.                                       Case No.
PLNTF Exhibit No. ________________________     DEFT Exhibit No. _________________________
Date Entered    ________________________       Date Entered   _________________________
Signature      ________________________        Signature      _________________________
Case No.                                       Case No.
PLNTF Exhibit No. ________________________     DEFT Exhibit No. _________________________
Date Entered    ________________________       Date Entered   _________________________
Signature      ________________________        Signature      _________________________
Case No.                                       Case No.
PLNTF Exhibit No. ________________________     DEFT Exhibit No. _________________________
Date Entered    ________________________       Date Entered   _________________________
Signature      ________________________        Signature      _________________________
Case No.                                       Case No.
PLNTF Exhibit No. ________________________     DEFT Exhibit No. _________________________
Date Entered    ________________________       Date Entered   _________________________
Signature      ________________________        Signature      _________________________
Case No.                                       Case No.
PLNTF Exhibit No. ________________________     DEFT Exhibit No. _________________________
Date Entered    ________________________       Date Entered   _________________________
Signature      ________________________        Signature      _________________________




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